Case 1:22-mc-00096-RC Document 1-57 Filed 10/17/22 Page 1 of 4




             EXHIBIT B-1
               Case 1:22-mc-00096-RC Document 1-57 Filed 10/17/22 Page 2 of 4


                   RICHARD J. DURBIN. ILUNOIS. CHAIR
PA'TRICK J. LEAHY. VERMONT           CHARLES E. GRASSL.EV, IOWA
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MAZIE K. HIRONO. HAWAII
                                     TED CRUZ. TEXAS
                                     BEN SASSE, NEBRASKA
                                     JOSHUA D HAWLEY. MISSOURI
                                                                              tinitcd ~tares ~cnatc
CORY A. BOOKER. NEW JERSEY           TOM COTTON. ARKANSAS                       COMM ITTEE ON THE JUDICIARY
ALEX PADILlA. CALIFORNIA             JOHN KENNEDY. LOUISIANA
JON OSSOFF. GEORGIA                  THOM TILLIS. NORTH CAROLINA
                                     MARSHA BLACKBURN, TENNESSEE
                                                                                WASHINGTON, DC 20510-6275



                                                           Octobe r 7, 2021

     Office of Disciplinary Counsel
     District of Columbi a Court of Appeals
     51 5 5th Street N W
     Building A, Suite 117
     Washington, D.C. 2000 I

     Re:        Request for Disciplinary Investigation of Jeffrey Bossert Clark

     To the Disciplinary Counsel:

             As the Chair of the U.S. Senate Judic iary Committee, I w rite to express my grave concern
     about actions taken by Jeffrey Bassett C lark that may constitute serious professional misconduct
     under the D.C. Rules of Professional Conduct. S ince January 202 1, the Committee has been
     investigating allegations that Mr. Clark a ided then-President Trump's efforts to enlist the U.S.
     Depattment of Justice (DOJ) in overturning the results of the 2020 Presidentia l e lection. After
     months of reviewing documents and interviewing key former DOJ personnel w ith firsthand
     knowledge of Mr. Clark's actions, the Committee has re leased the attached interim staff report
     (the " Report"). Based on the Report's findings, I respectfully request that the Office of
     Disciplinary Counsel open an investigation to determine whether Mr. C lark, who is a member of
     the D.C. Bar, v iolated applicable D.C. Rules of Professiona l Conduct and s hould be subj ect to
     disciplinary action.

              As further detailed in the Report, Mr. C lark attempted to enlist DOJ in President T rump' s
     effo1ts to overturn the results of the presidential e lection w ithout ev idence or legal authority. In
     fu1t herance of this goal, Mr. C lark:

           •    vio lated, blatantly and on multiple occasions, longstanding DOJ po lic ies designed to
                insulate the Department's investigations and prosecutions from partisan po litical
                infl uence by meeting w ith President Trump;

           •    continua lly pressed DOJ leadership to public ly announce that there was corruption in the
                2020 general e lection and to urge swing-state legislatures to convene specia l legis lati ve
                sessions to appo int a lternate s lates of e lectors, despite be ing repeatedl y to ld by DOJ
                leadership that his election fraud c laims were baseless and that DOJ lacked legal
                aut hority to pursue his proposed course of action; and

           •    attempted to coerce then-Acting A ttorney General Jeffrey Rosen into agreeing to his
                proposals by threatening M r. Rosen w ith the prospect of replacing him as Attorney
                General.
          Case 1:22-mc-00096-RC Document 1-57 Filed 10/17/22 Page 3 of 4




       Lawyers adm itted to the D.C. Bar swear an oath "to support the Constitution of the
United States." 1 It should go w ithout saying that attempts to subvert a free and fa ir election do
not support the Constitution.

         T he D.C. Bar defines misconduct as " [a]cts or omissions by an attorney ... which v iolate
                                                                                                 2
the attorney's oath of office or the rules or code of professional conduct currently in effect."
M r. C lark's actions implicate several D.C. Rules of Professional Conduct. First, by using his
official capacity as an Acting Assistant Attorney General to push DOJ to take official action
based on verifiable falsehoods, Mr. Clark appears to have violated Rule l .2(e)'s prohibition
against "counsel[ing] a client to engage, or assist[ing] a c lient, in conduct the lawyer knows is
criminal or fraudulent." While Rule l .2(e) allows " lawyers to discuss the consequences of any
proposed course of conduct w ith a client" and "assist a client to make a good-faith effort to
determine the validity, scope, meaning, or application of the law," M r. C lark's actions do not fit
into this exemption. To the contrary, as the Report demonstrates, he repeatedly pressed DOJ
 leadership to take the extraordinary and unlawful step of intervening in states' appointment of
e lectors based on fa lse c la ims of election fraud. Rule l .O(t) defines knowledge as " actual
 knowledge," which "may be inferred from circumstances." T he American Bar Association' s
Stand ing Committee on Ethics and Professional Responsibility has further c larified that actual
 knowledge "may be inferred from the circumstances, including a lawyer's w illful blindness to or
 conscious avoidance of facts." ABA Forma l Op. 491 (2020). As the Report establishes, Mr.
 C lark should have know n, and was given every opportunity to know, that the election fraud
 c laims he pushed were false.

        Mr. C lark also appears to have violated at least four of the prohibitions in Rule 8.4
regarding professional misconduct. First, the verifiable falsehoods at the core of Mr. Clark' s
efforts implicate Rule 8.4(c)'s prohibition of"conduct involving dishonesty, fraud, deceit, or
misrepresentation." Second, his repeated requests that Acting Attorney General Rosen endorse
these fa lsehoods, and his suggestion that he wou ld decline an offer to replace Rosen as Acting
Attorney General if Rosen agreed to pursue his proposal, implicate Rule 8.4(a)'s prohibition
against knowingly assisti ng or induc ing someone to violate the Rules of Professional Conduct.
T hird, Rule 8.4(e) prohibits a lawyer from " stat[ing] or imply[ing] an ability to influence
improperly a government agency or official," and Mr. Clark attempted to improperly influence
both DOJ's own leadership and several state legis latures. Finally, as a senior DOJ official w ho
sought to improperly use DOJ's law enforcement powers on behalf of a political candidate and to
overturn the election results, the totality of Mr. C lark' s effo11s implicate Rule 8.4(d)'s prohibition
of"conduct that seriously interferes with the administration of justice." Other Rules may be
similarly implicated.

         Mr. C lark' s misconduct does more than speak to his fitness as a lawyer; his activities,
which were pa11 of a broader course of conduct by President Trump and his a llies to overturn the
e lection, have had severe ram ifications for the rule of law. When a government lawyer,

1
  Attorney Oath of Adm ission to the District of Columbia Bar, available at
ht tps://www.dccourts.gov/s ites/defa ult/ fi Jes/divisions pd fs/committee%2 0on%20admiss ions%20 pd f/Attorney Oath
Statement Ro ll of Attorneys.pdf.
2
  Rules Governing the District of Columb ia Bar, Ru le XI, Section 2(b).
      Case 1:22-mc-00096-RC Document 1-57 Filed 10/17/22 Page 4 of 4




particularly one e ntrusted w ith a high level of leadership in the nation ' s foremost law
enforcement agency, commits serio us vio lations of professional conduct, such actions undermine
the integrity of our justice system and erode public confidence in it. Public confidence is further
eroded when serious misconduct comes to light only to be met w ith no consequences. Therefore,
I submit this letter of compla int to respectfully request that the Office of the Disciplinary
Counsel initiate an investigation and take a ppropriate disciplinary proceedings pursuant to Rule
X I of t he Rules Governing the District of Columbia Bar.

        I appreciate your prompt attention to this sensitive matter. The Committee is available for
further consu ltation as needed.

                                      Sincerely,




                                      Richard J. Durbin
                                      C ha ir, U.S. Senate Committee on the Judiciary




Enclosure

cc:    The Honorable C harles E. Grassley
       Ranking Member, U.S. Senate Committee on the Judiciary
